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7                          UNITED STATES DISTRICT COURT

8                        EASTERN DISTRICT OF CALIFORNIA

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10   UNITED STATES OF AMERICA,              No. 2:09-cr-00313-GEB
11                 Plaintiff,
12        v.                                ORDER RELEASING HENRY MARTINEZ
                                            FROM CUSTODY
13   HENRY MARTINEZ,
14                 Defendant.
15

16        TO UNITED STATES MARSHALL:

17               This Order authorizes and directs you to release HENRY

18   MARTINEZ on September 15, 2014, from further detention on the

19   Petition filed on August 22, 2014, in light of the following

20   modification to the conditions of his supervision, which issued

21   on September 11, 2014:

22               7.   The    defendant   shall    reside   and
                 participate in an inpatient correctional
23               treatment program to obtain assistance for
                 drug and/or alcohol abuse, for a period of up
24               to 90 days, and up to 10 additional days for
                 substance abuse detoxification services if
25               deemed necessary.
26   (Order at 2, 3, ECF No. 76.)

27               HENRY   MARTINEZ   shall       be    released   to   the   probation

28   officer’s   custody    at   8:30   a.m.     on    September      15,   2014,   for
                                            1
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1    transportation to The Effort, a residential treatment program.

2               IT IS SO ORDERED.

3    Dated:   September 12, 2014

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